Case Number: PC-2018-4932
Filed in Providence/Bristol County Superior Court
                   Case
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Reviewer: Lynn G.


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                STATE OF RHODE ISLAND                                             >
                                                                                                SUPERIOR COURT
                PROVIDENCE, S.C.

                JEAN MCCRAVE BAXTER
                       Plaintzﬁ


                VS.                                                                             CA NO:
                MERRILL LYNCH, PIERCE, 'FENNER, &
                SMITH INCORPORATED
                       Defendant.


                                                                     COMPLAINT
                       1.    The    Plaintiff,    Jean   McCrave Baxter     (hereinafter Plaintiff),   is   a resident of the


               Town of North Providence, County of Providence, State                     of   Rhode    Island.



                       2.    The Defendant, Merrill Lynch, Pierce, Fenner,              8:   Smith Incofporated

               (hereinafter Defendant),            is   a foreign corporation authorized to do business in the State


               of   Rhode    Island    and   is   doing business in the     Town of Lincoln, County of Providence,

               State of    Rhode Island.


                       3.   Plaintiff   invokes the jurisdiction of the Court pursuant to R.I.G.L. §42—112-1,


               R.I.GL. §28-5-1 et seg, R.I.G.L.§8-2-13, R.I.G.L.§8-2—14,               and    R.I.G.L. §42-87-1 et—seg.



                       4.   The    Plaintiff   commenced her employment with the Defendant on or about

               January      3,   2011 as an investment specialist, and in October 2012 she became a


               relationship manager.



                      5.    In   November, 2012, the         Plaintiff   notiﬁed her manager in writing of the hostile


               environment of the Defendant for females. Her manager stated the problem                            is   known

               and Will be addressed. Since              this notiﬁcation, Plaintiff   was harassed.
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                             6.   The behavior   of her   predominantly male colleagues constituted harassment

                With the use of vulgar language that included swearing, and sexual jokes. Client’s called


                the Plaintiff ”Sweetie, ”Honey,” and asked her to               sit   on their laps and asked   to   go on a

                date with them.



                             7.   In July, 2014, Plaintiff discovered that in   Human Resource records, her gender

                had been changed             to male,   and her spouse changed    to domestic partnership.      Medical

                bills   were denied payment. This action was joked about extensively and caused her pain

                and     suffering.



                            8.    The tréatment towards the    Plaintiff   was retaliatory-in   nature, because Plaintiff


                objected to the accepted behaviors            and cuiture of this type     of treaﬂnent   toward females

               in that job position. Plaintiff advised          When she     accepted the position, that she    would

               have the opportunity            t6 obtain additional   indusz licenses.      This licensing   would

               provide job security and enhance the possibility of promotions.



                            9.   In 2015, seven new additions were added to Plaintiff’s team;         all   males and   all



               being allowed to obtain additional licenses. Plaintiff             made many requests, was denied

               the opportunity to take the tests to obtain licenses.



                        x
                            10.   Young males between the      ages of 25 to 4O were hired and promoted at a rapid


               pace. Plaintiff         was   qualified, but because of Defendant’s discrimination practice, she


               was denied promotions.
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                        11. In     February 2015, Plamtiffwas denied an            ex’afa   personal day When her father


                passed away and time             When the site   closed for emergency weather.



                        12.   In 2013, the Plaintiff    was denied two requests for The Family and Medical

                Leave Act of 1993 (FMLA) to care for sick parents.


                        13.   The Defendant wrongfully alleged poor performance by the                     Plaintiff      and

                Plaintiff’s   superiors proceeded t0 harass and discriminate her as stated. herein.                  ..
                                                                                                                          __




                       14.    That said allegations were         false   and was a pretext to discrimination because

                of Plaintiff’s sex.



                       15.    The Defendant wrongfully denied              Plaintiff   promotions, ability to obtain

               licenses   and the    benefits of her    employment         as stated herein.



                       16.    During the period 0f time from November 2014                  to   February 2015,   Plaintiff


               complained to her manager three times of the discriminatory treatment from her

               supervisor, fellow male employees, and. Clients.               The manager of the Defendant refused

               to correct the issues.



                       17. Plaintiff    has been on a disability related medical leave of absence since


               December       12, 2015.




                       18.   The   Plaintiff’s   performance met or exceeded the Defendant’s legitimate

               expectation.
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                        19.   As a result 0f this      discriminatory treatment, Plaintiff has suffered and Will


                continue to suffer ecuniary and compensatory damages                   now and in the future,

                including, without limitation:



                                   a)   Emotional Distress; and



                                   b)   Emotional distress causing     total disability,   and the    inability t0    be

                gainfully employed;          and


                                   c)   Loss of wages and employee fringe benefits including health insﬁrance


               and other medical          benefits;   and


                                  d) Attorney’s fees        and related expenses.


                       20.   The   illegal   conduct of the Defendant was motivated by malice or               ill   wﬂl and

               demonstrated reckless and callous indifference to Plainﬁﬂ’s right to work in an

               environment        free   from unlawful employment discrimination and                entitles Plaintiff t0   an

               appropriate award of exemplary damages.



                       21.   As   a result of discriminatory treatment that the Defendant suffered                   upon the

               Plaintiff,   the Defendant stands liable to Plaintiff for an appropriate              award   of pecuniary


               damages, compensatory damages, and exemplary damages.


                      22. Plaintiff       timely filed a Charge 0f Discrimination with the           Rhode   Island


              Commission for            Human Rights and has otherwise satisfied           all   conditions precedent


              prior to timely      commencing         this action before this Court.
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                                                                     PRAYER FOR RELIEF

                                      WHEREFORE,              Plaintiff prays that the   Court grant the following   relief:



                          1.          A ﬁnding declaring the Plaintiff as the prevailing party in this action;
                          2.          A ﬁnding that the Defendant stands liable to make the Plaintiff             whole     for all


                 damages suffered            as a result of the wrongful acts       and omissions alleged, including     1mg Lia

                 back pay, front pay, the value 0f lost ﬁinge beneﬁts and other pecuniary damages                      to   be


                 determined by a jury;


                         3.          A permanent injunction against the Defendant prohibiting future acts of
                gender discrimination against Plaintiff and similarly situated female employees;


                         4.          A ﬁnding that the Defendant stands liable to Plaintiff for an appropriate award
                of compensatory damages for the wrongful acts alleged herein, including, without


                limitation, Plaintiff s         compensatory damages         t0   be determined by a jury;


                         5.          A ﬁnding that the Defendant stands liable to Plaintiff for an appropriate award
                of exemplary damages                t0   punish Defendants’ wrongful, malicious, intentional, purposeful,


                extreme, outrageous, Wicked and wanton actions complained of herein that were motivated


                by malice,     ill   will,   and a reckless or callous indifference        to the statutorily protected rights       of

                the Plaintiffto       work     in   an environment free from discrimination;


                         6.          An   Order declaring that the acts and practices complained of herein are in                .




                Violation of the       Rhode        Island Fair   Employment      Practices   Act and the Rhode Island   Civil


                Rights Act of 1990;


                         7.          An   Order enj oining and permanently restraining Defendants from further


                violations of the       Rhode       Island Fair   Employment Practices Act and the Rhode         Island Civil


                Rights Act 0f 1990;
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                           8.       An Order directing Defendants        to take       such afﬁrmative action as           is   necessary

                 to ensure that the effects     of these unlawful employment practices are eliminated and do not


                 continue to affect the Plaintiff s employment opporttmjties;


                          9.     A ﬁnding after judgment in Plaintiffs                favor, that the       Defendant stands       liable


                 to Plaintiff for   an award of his reasonable attorney’s             fees, litigation costs         and other costs of

                 this action, together   with a post—trial hearing to determine the amount of Plaintiff’s


                 reasonable attorney’s fees taxable t0 the Defendant, along with a determination of the


                 Plaintiff” s liﬁgation costs   and expenses taxable          to the Defendant.


                          10.   An appropriate      award of pre-judgment             interest   on   all   sums recovered;

                          11.   Such other and further     relief as this       Court deems just and proper.


                                                           Respectfully submitted,               PLAINTIFF,
                                                           JEAN MCCRAVE BAXTER
                                                           By her Attorney,

                                                               /{A] ZL

                                                           HARRY
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                                                                         J.
                                                                                       Z
                                                                                        WM
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                                                           HOOPIS        & HOOPIS
                                                           33 College Hill Road, Building                   5B   -




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                                                          Date: July 11, 2018

                                                           JURY TRIAL DEMAND
                                      Plaintiff claims trial   by jury on      all   issues triable    by   right to a jury.
